              Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                              Page 1 of 14 PageID 8




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 17122277
Notice of Service of Process                                                                            Date Processed: 09/11/2017

Primary Contact:           Service Process Team 3-11-309
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Kevin Jones
                                               Joshua Schonauer
                                               Cassandra Struble

Entity:                                       Allied Property And Casualty Insurance Company
                                              Entity ID Number 0129900
Entity Served:                                Allied Property and Casualty Insurance Company
Title of Action:                              First Restoration Inc. vs. Allied Property and Casualty Insurance Company and
                                              David Morgan
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Tarrant County District Court, Texas
Case/Reference No:                            017-294261-17
Jurisdiction Served:                          Texas
Date Served on CSC:                           09/11/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Loree & Lipscornb
                                              210-404-1320

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
~            Case 4:17-cv-00813-O Document
                                        THE1-1STATE
                                                Filed OF
                                                      10/10/17
                                                         TEXAS Page 2 of 14 PageID 9
                                                                                 SERVICE COPY
                                 DISTRICT COURT, TARRANT COUNTY

                                                               CITATION                             Cause No. 017-294261-17
                                        FIRST RESTORATION, INC.
                                                                   VS.
                            ALLIED PROPERTY AND CASUALTY INSURANCE COMPANY, ET

TO: ALLIED PROPERTY AND CASUALTY INSURANCE COMPANY
                                                         B/S REG AGENT-CORPORATION SERVICE COMPANY 211 E 7TH ST STE 620 AUSTIN, TX
                                                         78701-




You said DEFENDANTS are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION AND
REQUESTS FOR DISCLOSURE at or before 10 o'clock A.M. of the Monday next after the expiration of 20 days after the date
of service hereof before the 17th District Court in and for Tarrant County, Texas, at the Courthouse in the City of
Fort Worth, Tarrant County, Texas said PLAINTIFF being



FIRST RESTORATION INC


Filed in said Court on August 29th, 2017 Against
ALLIED PROPERTY AND CASUALTY INSURANCE COMPANY, DAVID MORGAN


Bor suit, said suit being numbered 017-291261-17 the nature of which demand is as shown on said
PLAINTIFF'S ORIGINAL PETITION AND REQUESTS FOR DISCLOSURE a copy of which accompanies this citation.



                                                             ROBERT W LOREE
                                                Attorney for FIRST RESTORATION INC Phone No. (210)404-1320
                                                Address THE TERRACE AT CONCORD PARK 777 E SONTE]                              VD STE 32
         Thomas A. Wilder               Clerk of the District u of Tarrant Co y, T xas. Given under my hap~p'
of said Court, at office in the City of Fort Worth, this C          6tt~ c~y of S e,g*g~r

                                                           v   '                   LISA LETBETTER
NOTICE: You have been sued. You may employ an attorney. If you or your attorney do not file a written ansvyg~
clerk who issued this citation by 10:00 AM. on the Monday next following the expiration of twenty days after
served this citation and petition, a default judgment may be taken against you.
            Thomas A. Wilder, Tarrant County District Clerk, 100 N CALHOUN, FORT WORTH TX 76196-0402

                                        OFFICER'S RETURN *01729426117000020*
Received this Citation on the           _ day of                                            at _ o'clock      M; and executed at
                                        _ within the county of                         State of _        at         o'clock     M
on the           day of                                  by mailing to the within named


a true copy of this Citation together with the accompanying copy of PLAINTIFF'S ORIGINAL PETITION AND REQUESTS FOR
DISCLOSURE having first endorsed on same the date of delivery.



                          Deputy/Constable/Sheriff: _
County of                                   State of _                   By                                               Deputy
Fees $
State of                    County of                                      (Must be verified if served outside the State of Texas)
Signed and sworn to by the said                                               _ before me this      day of          _
to certify which witness my hand and seal of office
(Seal)
                                               County of                           . State of
               CITATION            Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17   Page 3 of 14 PageID 10


        Cause No. 017-294261-17
  FIRST RESTORATION, INC.


             VS.

  ALLIED PROPERTY AND
  CASUALTY INSURANCE COMPANY, ET

          ISSUED

 This 6th day of September, 2017

       Thomas A. Wilder
   Tanant County District Clerk
        100 N CALHOUN
   FORT WORTH TX 76196-0402

 By        LISA LETBETTER Deputy


 ROBERT W LOREE
 Attorney for: FIRST RESTORATION INC
 Phone No. (210)404-1320
 ADDRESS: THE TERRACE AT CONCORD PARK
      777 E SONTERRA BLVD STE 320
      SAN ANTONIO, TX 78258

      CIVIL LAW




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     Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                     Page 4 of 14 PageID 11

                                            017-294261-17                                                  FILED
                                                                                              TARRANT COUNTY
                                                                                               8/29/2017 2:06 PM
                                                                                             THOMAS A. WILDER
                                    CAUSE NO.                                                   DISTRICT CLERK

FIRST RESTORATION. INC.                                §           IN THE DISTRICT COURT
                                                       §
         Plaintiff                                     §
                                                       §
V.                                                     §                  JUDICIAL DISTRICT
                                                       §
ALLIED PROPERTY AND CASUALTY                           §
INSURANCE COMPANY and DAVID MORGAN                     §
                                                       §
         Defenclant                                    §.          TARRANT COUNTY, TEXAS

           PLAINTIFF'S ORIGINAL PETITION AND REQUESTS FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID :CQURT:

         Plaintiff, First Restoration, Inc., files this original petition complaining of Defendants,

Allied Property and Casualty Insurance Company and David Morgan,                in                s
                                                                                     which Plaintiff   i
, seeking monetary reiief over $200,000, but not more than $1,000,000 in this. rnatter. In support

of its petitiori, Plaintiff would show this Honorabie Court as foilows:

                             I. Patties, Venue, and Discovery Level

         Plaintiff, First Restoration, Inc. (hereinafter "First Restoration"), is a Texas company and

the insured of a building located at 1 OOO .Enterprise Place, Arlington, Texas 76001.

        Defendant, Allied Property and Casualty Insurance Company (hereafter "Allied"); is a

foreign insurance company doing business in Texas that can be served by serving its registered

agent Corporation Service Company at 211 East 7`h`Street, Suite 620, Austin, Texas 78701.

         Defendant, David Morgan, is a Texas resident and an Allied insurance adjuster, who can

be served at his piace of employment at 2150 Lakeside Blvd., Richardson; Texas 75082.

         The venue of this case is proper in Tarrant County, Texas under Sections 15.002 and

15.032 of the Texas Civil Practices and Remedies Code arid Section 17.56 of the Deceptive

Trade Practices-Consumer Protection Act (hereafter the "DTPA").

         Plaintiff intends to conduct discovery in this case under Level 3 pursuant to Rule 190.4

of the Texas Rules of Civii Procedure.
 Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                     Page 5 of 14 PageID 12




                             II. Agency and Respondeat Superior

       Whenever in this petition it is alleged that the Defendants did any act or thing, it is meant

that Defendants or their agents, officers, servants, employees, .or representatiVes did such act

or thing. They were also done with the full authorization or ratification of Defendants or done in

the normal routine, course and scope of the agency or empioyment of Defendants or their

agents, officers, servants, empioyees, or representatives.

                                    III. Conditions Precedent

       All conditions precedent to recovery have occurred or been, performed:

                                      IV. Facts of -the Case

March 17. 2016 Wind and Hail Storm

       First Restoration purchased property insurance             from Allied (Policy No. ACP

CPPP07236020342) to cover property damage to its building at 1400 .Enterprise Place,

Arlington, Texas 76001for the policy period of March 15, 201.610 March 15, 2017: Un or about

March 17, 2016, during the subject policy period, a wind and hail storm damaged First

Restoration building; especially its roof. First Restoration thereafter filed an insurance claim with

Ailied, who assigned itthe claim number of 7842131479PE16031751..

       Allied assigned one of 'its adjusters, Melvin "Cliff" Spiller, Jr. (hereafter "Spiller"), to

investigate the. loss and adjust the claim. On August 26, 2016; Mr. Spiller inspected First

restoration's building. During the inspection, Spiller observed obvious storm damage to the

property. At the recommendation of Spiller; Allied retained HVAC lnvestigators to investigate the

storrn damage to the HVAC units at the property. In a August 31, 20.16 report, HVAC

Investigators determined that two of the five HVAC units needed to be replacement due to the

damage from the March 17, 2016 storm:

       At the recommendation of Spiller, Allied also retained Haag Engineering (hereinafter

"Haag") to inspect and report on the storm damage to First Restoration's building. Plaintiff

believes that Allied and Spiller hired Haag because they know that Haag is biased for insurance



                                                 2
 Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                  Page 6 of 14 PageID 13




companies and will give them favorable, result-oriented reports on which they can either deny or

low-ball claims for damage from windstorm and hail to an insured's property. Timothy P.

Marshall (hereafter "Marshall") with Haag inspected the property on September 7, 2016. True to

form, in his September 9, 2016 report, Marshafl concluded that even though the roof panels

sustained obvious hail impa.ct damage, he found such damage to be cosmetic, which did not

shorten the service life of the roof or compromise its water shedding capability. As an

experienced adjuster, Mr. Spiller either knew or should have known that Haag had prepared a

result-oriented report that did not properly address many of the storm damaged items at

Plaintiffs building.

        Suspecting that Allied was improperly adjusting and low-balling its. storm damage

insurarice claim, First Restoration retained a Texas licensed public insurance adjuster, Brian

Revere, to assist it with its insurance claim. At the recommendation of Mr. Revere, First

Re.storation had Lany Sanford of JL Roof Consuftants (hereinafter "Sanford") inspect antl report

on the damage to its building from the March 17, 2016 storm. In a September 28, 2016 report

and estimate, Sanford determined that the subject storm had caused damage to First

'Restoration's building, especiallyits roof: Sanford estimated the r.easonable and necessary.cost

to properly repair this storm damage at $319,065.56.

        Around this time, in a September 17; 2016 report, Allied prepared a low=ball storrn storm

damage estimate for the replacement cost amount of $28,1:22:77.and an actual cas.h value

amount of $13,898.61. As an experienced adjuster, who conducted his own inspection of the

property, Spiller either kne+nr or should have known that these amounts were not enough to

properly repair the extensive storm damage to First Restoration building. Obviously, First

Restoration does not agree with this estimate and requested payment based on Sanford's

estimate, which was refused. To date, Allied has failed to properly adjust First. Restoration's

claim. and has not paid First Restoration for the proper repairs of the storm damage to its

building as identified in the cost estimate from JL Consu(tants.



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 Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                    Page 7 of 14 PageID 14




March 29, 2017 Windstorm

       First Restoration aiso purchased a renewal insurance policy from Allied to cover property

losses at 1000 Enterprise Place, Arlington, Texas 76001 for the. policy period of March 15, 2017

to March 15, 2018 (hereafter "the 2017 poiicy"). On or about March 29, 2017, dur'rng the subject

policy period, another storm caused additional damage to First Restorations' building. First

Restoration reported this loss tb Allied, who assigned it claim no. 924103=GE.

       Allied assigned its adjuster, David Morgan (hereinafter "Morgan") to investigate, and

adjust this loss. Allied and Morgan retained. Douglas .Structure Engineers (hereafter "DSE") to

inspect and report on the storm damage. to Plaintiffs. buiiding. Plaintiff also beiieves that Allied

and Morgan hired DSE because they know that DSE is biased for insurance companies and wiil

give them favorable, result-oriented:reports on which they can either deny or iow-ball.ciaims for

damage from windstorm and haii to an insured's property. Kevin Rogers, P.E. (hereinafter

"Rogers") with DSE inspected Plaintiffs building on April 11, 2017. True to form, in his April 13,

2017 report, Rogers conciuded that then metal rooring system did not sustain any wind related

damage and that none of the areas of water intrusion were the result of water penetration

through storm-created breaches in the roofing°system. As an experienced adjuster, Mr: Morgan

either knew or shouid have known that DSE :and its engineer Rogers had prepared a result-

oriented report that did not properly address many of the items of windstorm damage to

Plaintiffs build.ing. As a resuit, AIlied and Morgan wrongfully denied Plaintiffs March 29, 2017

windstorm damage insurance ciaim.

       By their conduct, Allied and Morgan refused to pay PlaintifPs ciaim without conducting a

reasonable investigation in violation of their duties under Section 541.060 of the Texas

Insurance Code.. They also failed to atterript in good faith to effectuate a prompt, fair, and

equitable settlement of First. Restoration's 'claims on which Defendants' (iability had became

reasonably ciear again in direct violation of their duties under Section 541.060 of the Texas

Insurance Code. Although Allied has made some payments towards both ciaims, it is not



                                                 4
  Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                     Page 8 of 14 PageID 15




enough to properly repair the storm damage to Plaintiff's building caused by both storms during
the policy periods.

                           V. Cause of Action for Breach of Contract

        According to the insurance poficies that Plaintiff purchased, Defendant has the duty to

investigate and pay Plaintiff policy benefits for claims made for damages to the property caused

by windstorm and hail. The subject property was damaged by windstorm and hail during both

storms, which damage is covered under Plaintiff's insurance policies. with Allied. Allied has

breached its contractual obligations and the subject insurance policies- by fail'ing to pay Plaintiff

policy benefits for the cost to properly repa'rr the storm damage to its 'building.. Allied has also

breached the contractual provisions on timely investigating, adjusting, and paying Plaintiff 5
ciaims for wind and hail damage. As a result of these breaches of contract, Plaintiff has-suffered

the damages that are, described in this petition.;
          VI. Causes of Action for Viotation of Chapter 542 of the Insurance Code

       Allied's conduct that is described in this petition violates Chapter 542 of the Texas

Insurance Code. Within 15 days after the receipt of either actual or written notice of Pla"intifPs

storrn damage insurance claims, Allied did not request from Plaintiff, any items, statements, and

forms that it reasonably believed at that time would be required from Plaintiff for its claims: As a

result, Allied has violated Chapter 542 by failing to accept or reject Plaintiff's claims in writing

within 36 days after receiving either actual or wt•itten notice of its claims. Allied has also violated

Section 542:05$ by failing to pay Plaintiff's claims withih 75 days after it received either actual or

written notice of the claims or within 60 days after any other applicable statutory period. In the

event it is determined that Allied owes Plaintiff any additional monies, then Altied has

automatically violated Chapter 542 of the Texas Insurance Code.

                                   Vll. DTPA Causes of Action

        Plaintiff incorporates afl the allegations in this petition for these causes of action against

Defendants Allied and Morgan under the provisions of the DTPA. Plaintiff has met all conditions



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 Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                   Page 9 of 14 PageID 16




precedent to bringing these causes of action against these Defendants. Specifically, Allied's and
Morgan's violations of the DTPA include, without limitation, the following matters:
       A. By their acts, omissions, failures, and conduct that are described in this petition,
          Defendants Allied and Morgan have violated Sections 17.46(b){5), (7), (12), and (20)
          of the DTPA. In this respect, Defendants' violations include, without limitation, (1)
          their unreasonable delays in the investigation, adjustment and resolution of PlaintifPs
          claims; (2) their failure to properly investigate Plaintiff's claims, (3) their hiring of
          biased consultants to obtain result-oriented reports and estimates to assist the
          insurer in low-balling Plaintiff's storm damage insurance claims, and (4) their failure
          to properly pay PlaintifE's storm damage claims on which Defendants' tiability had
         .become reasonably clear;

       B. As described in this petition, Defendants Allied and Morgan represented to Plaintiff
          that the subject irisurance policies and Defendants' adjusting and investigative
          services had characteristics or benefits that it did not have, which gives Plaintiff the
          right to recover under Section 17.46(b)(5) of the DTPA;
       C. As described in this petition, Defendants Allied :and Morgan represented to PlaintifF
          that the subject insurance policies and Defendants' adjusting and investigative
          services were of a particular standard, quality, or grrade when they were of another in
          violation of Section 17:46(b)(7) o.f the DTPA;

       D. As describ;ed in this petition, Defendants Allied and Morgan represented to Plaintiff
          that the subject insurance poiicies and Defendants' adjusting and irivestigative
          services conferred or involved rights; remedies; or obligations that they did not have,
          which gives Plaintiff the right to recover under Section 17:46 (b)(12) if the DTPA;

       E, By representing that Defendants would pay to repair the damages caused by hail
          and windstorm and by not doing so, Defendants have violated Sections 1:7.46(b)(5),
          (7), and (12) of the DTPA;

       F; Allied has breached an express warranty that the damage caused by windstorm and
           hail would be covered under the subject insurance policies. This breach entitles
           Plaintiff to recover under Sections 17.46(b}(12) and (20) and 17:50(a)(2) of the
           DTPA;

       G. Defendants' actions, as described in this petition, are unconscionable in that it took
          advantage of Plaintiffs lack of knowledge, ability, and experience to a grossly unfair
          degree. Defendants' unconscionable conduct gives Plaintiff the right to relief under
          Section 17.50(a)(3) of the, DTPA; and
       H. Defendants' conduct, acts, omissions, and failures, as described in this petition, are
          unfair practices in the business of insurance in violation of Section 17.50(a)(4) of the
          DTPA.

AII of the above-described acts, omissions, and failures of Defendants Allied and Morgan are a

producing cause of Plaintiff's damages that are described in this petition.




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 Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                        Page 10 of 14 PageID 17




                       Vllt. Causes of Action for Unfair Insurance Practices

        Plaintiff incorporates all the allegations in this petition for these causes of action against

Defendants Allied and Morgan under the Texas Insurance Code. Plaintiff has satisfied all
conditions precedent to bringing these causes of action. By their acts, omissions, failures, and
conduct, Defendants Allied and Morgan have engaged in unfair and deceptive acts or practices

in the business of insurance in violation of Chapter 541 of the Texas Insurance Code. Such

violations include, without limitation, all the conduct described in this petition plus these

Defendants' failures -to properly investigate Plaintifrs clainis.. They also include Defendants'

unreasonable delays in the investigation, adjustment, and resolution of Plaintiff's ctaim and their
failure to; pay for the proper repair,'"of Plaintiffs property and loss rents on which their liability had

become reasonabty clear. They further include Defendants' hiring of biased consultants to
obtain result-oriented reports to assist the insurer in denying Plaintifrs insurance claims. In

additiori, Defendants failed to look. for coverage and ,give Plaintiff the benefit of the doubt:

SpecificaG,y,   Defendants Allied and Morgan are:guitty of the following unfair insurance practices:

        A, Engaging in .false, misleading, .and deceptive acts or practices in the busin.ess of
           insurance in this case;

        B. Engaging in unfair claims. set#lement practices;

        C;   Misrepresenting to Plaintiff pertinent. facts. or policy provisions relating to the
             coverages at issue;

        D. Not attempting in good faith to effectuate a prompt, fair, and equitable settlement of
           Plaintiffs claims on which Defendants' liability has become reasonably clear;

        E. Failing to affirm or deny coverage of Plaintiff's claims within a reasonable time;

        F. Refusing to pay PlaintifPs claims without conduc6ng a reasonable investigation with
           respect to the claims; and

        G. Failing to provide promptly to a policyholder a reasonable explanation of the basis in
           the insurance policy, in relation to the facts or applicable law, for the denial of a claim
           or for the offer of a compromise settlement.

        Allied has have also breached the Texas Insurance Code when it breached its duty of

good faith and fair dealing. Defendants' conduct as described herein has resuited in PlaintifPs



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 Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                  Page 11 of 14 PageID 18




damages that are described in this petition.

          W. Causes of Action for Breach of Duty of Good Faith and Fair Dealin-q
        Plaintiff incorporates all the allegations of the preceding paragraphs for .this cause of

action. By its acts, omissions, failures, and conduct,. Allied has breached its common law duty of

good faith and fair dealing by denying in part and not fully paying Plaintiff's claims without any

reasonable basis and , by failing to conduct a reasonable inv.estigation to determine whether

there was a reasonable basis for such denials. Aliied has also breached \ this duty by

unreasonably delaying payment of Plaintiffs claims and by failing to settle Plaintiffs claims

because Ailied knew or should have known that it was reasonably clear that the claims were

covered. Thi's conduct of, Allied is the proximate cause of Plaintiffs damages.

                                    X. Waiver and Estoapel

        Defendants have waived and a,re estopped from asserting any defenses, conditions;

exclusions, or excePtions to coverage not contained in any reserva6on of rights or denial letters

previously.sent to Plaintiff.

                                          XI. Damasaes
        The above described conduct of Defendants has caused Plaintifrs damages, which

include, without limitation, the cost to properly repair its property in the approximate amount of

$319,065.56. Plairitiff is also entit(ed to   recover the amount of its claims ptus an eighteen
percent per annum interest on`that amount against Allied as damages under Section 542.060 of

the Texas Insurance Code. AII the damages described in this petition are:within the jurisdictional

timits of the Court.

                                    XII. Additional Damages

       Defendants A11ied and Morgan have afso "know'rngly" and "intentionally" committed

deceptive trade practices and unfair insurance practices as those. terms are defined in the

applicable statutes. As a result, Plaintiff is entitled to additional damages under Section

17.50(bx1 ) of the DTPA and by Chapter 541 of the Texas Insurance Code.



                                                  8
 Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                    Page 12 of 14 PageID 19




                                    XIII. Exemplarn► Damages

        Allied's breach of its duty of good faith and fair dealing owed to Plaintiff was done

intentionally'and with "malice".and ugross negligence" as those terms are defined in Chapter 41

of the Texas Civil Practice and Remedies Code. These violations by Allied are the type of

conduct that the state of Texas protects its citizens against by the imposition. of exemplary

damages. Therefore. Plaintiff seeks the recovery of exeinplary damages in an amount to be

determined by the finder of fact that is sufficient to punish Allied for its wro.ngful conduct and to

set an example to deter Defendant and others simiiarly situated from committing -similar acts in

the future.

                                      XIV:. Attorney's. Fees

       As a result of Defendants' conduct that is described` in this petition, Plaintiff has been

fo.rced to retain the undersigned attomeys to prosecute this action and has agreed to pay

reasonable attomey's fees. Plaintiff is entitled to recover these attorney's fees under Chapter 38

of the Texas Civil Practices and Remedies Code; Chapters 541:and 54Zof the Texas Insurance

Code; and Section 17.50 of the DTPA.

                             XV. Rule 194 Reauests for Disctosure

       Pursuant to Rule; 194 of the Texas Rules of Civil Procedure; Defendants are requested

to disclose, within 50 days of service of this request, the information or material described in

Rule 194.2(a) through (I):

       WHEREFORE, PREMISES CONSIDERED, Plaintiff demands a trial by jury and also

requests that Defendants be cited to appear and answer, and on final hearing, the court award

Plaintiff a judgrnent against Defendants for the following:

       1. Actual, economic, consequential, additional, and exemplary damages in an amount
          within the jurisdictional limits of the court;

       2. The 18% per annum interest as damages under Chapter 542.of the Texas, Insurance
          Code;

       3. Reasonable attomeys' fees through trial and on appeal;



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Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                 Page 13 of 14 PageID 20




     4. Pre judgment and post judgment interest as provided by law;

     5: Costs of court; and

    6. Such other and further reiief to which Plaintiffs may be justty entitied.

                                                          Respectfuliy submitted,

                                                          Loree & Lipscornb
                                                          The Terrace at Concord Park
                                                          777 East Sonterra Bivd, Suite 320
                                                          San Antonio, Texas 78258
                                                          Telephone: (210) 404-1320
                                                          Facsirnite: (210) 404-1310
                                                          Email: robOhllawfirm.com




                                                              Robert W. Loree
                                                              State Bar No. 12

                                                          Attorney for Plaintiff




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                                   Case 4:17-cv-00813-O Document 1-1 Filed 10/10/17                   Page 14 of 14 PageID 21
  Tan-aant County
  niomm A. Wilder Dietaiot CWk                                                                                                  -
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  I+M Wortth, TX 76196-0402




RETURN RECEIPT REQUESTED




                                                          ALLIED PROPERTY AND CASUALTY INSURANCE CO
                                                          B/S REG AGENT-CORPORATION SERVICE CO
                                                                     211 E 7T" ST STE 620
                                                                       AUSTIN TX 78701

                                                      ~           017-294261-17 DP/LL/CM              ~
